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Hash values are a very reliable method of authenticating files. If the same mathematical
algorithm is applied to two files, two hash values will be generated. If the two hash values
match, one can conclude, with a great deal of certainty, that the contents of both files are
identical.

The reliability of hash values can be considered more accurate than DNA; the chance of two
different persons coincidentally sharing the shame DNA profile is 1in10,000,000,000,000.
The chance of two files with different content coincidentally sharing the same hash value is
1in9,223,372,036,854,775,808.
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enforcement was able to locate and seize over 100 computers. The Wyoming ICAC team was
recognized by various national agencies for their work on implementing Peerless Operation.

As successful as this operation was, several areas were identified for potential improvement or
introduction to enhance the following methods: The ability to localize investigations, identifying
egregious offenders, and tracking historical trends.

                                               Operation Peer Precision was designed with input
                                               from law enforcement agencies around the world
                                               and embodies the efforts first initiated by the
                                               Wyoming ICAC to address these recommendations.
                                               Through the use of client-side enhancers to
                                               publicly available tools, law          enforcement
                                               investigated the use of the Gnutella network, while
                                               incorporating many of the recommendations that
                                               stemmed from previous successful operations.

                                                Since the inception of Operation Peer Precision in
                                                October 2004, millions of computers have been
                                                identified around the world trading images of child
pornography. Operation Peer Precision was responsible for the identification and subsequent
arrest of hundreds of individuals around the world for child pornography crimes.

In the spring of 2008, the effort was designated Operation Fairplay, but budget problems
threatened to end Wyoming's support of the effort. The owner of a private data fusion company,
TLO, offered to host the operation and make his programming resources available to law
enforcement. The partnership resulted in the current suite of tools called The Child Protection
System.
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from the server). This source-exchange capability is designed t o reduce the load on servers by two
thirds or more for files that have a large number of seeds, or sources (other clients) for the files. The
original eDonkey client by MetaMachine does not support source exchanges.

Bittorrent: Technically, BitTorrent is a protocol, and not a P2P network. It is one of the m ost
common protocols for transferring large files, and by some
estimates, accounts for more than 35% of all traffic on the               Florida Success
entire Internet. Unlike the other P2P networks, file
searching is not done using a file sharing application                                           of the
(client). With BitTorrent, users search the Internet to        Florida Attorney General's Child
locate .torrent files. A download is initiated by launching a  Predator Cybercrime Unit served a
.torrent file which connects the initiator's computer to a     search warrant based on historical
tracker (a central server). The tracker monitors all           data in the Child Protection System
connections, but it does not have any knowledge of the         on the residence of Daniel Bervig
contents of the files being shared.                            in Milton, Florida. After finding
                                                               child pornography on Bervig's
BitTorrent does not offer its users anonymity. It is possible  computer, he disclosed that he had
to obtain the IP addresses of all current, and possibly        met a woman from Mobile
previous, participants in a swarm from the tracker.            Alabama online and had been
However, there are ways to promote anonymity; for              offered her eight y ear old son for
example, the OneSwarm project layers privacy-preserving        sex. Once he finished the w arrant,
sharing mechanisms on top of the original BitTorrent • • • • • • • w ent back to his
protocol.                                                      office and assumed Bervig's online
The BitTorrent protocol was designed to solve the P2P          account. The wom a n, Melissa Grey,
problem of leeching. Le eching is when a user downloads a      contact ed him, and thinking h e
file but doesn't share the file (give back to the P2P          was Bervig, again offer ed t o shar e
community). The BitTorrent protocol prevents this from         h er s on, a nd sent • • • • • • •
happening. A file is broken up into pieces. As soon as a file  several child p ornography ima ges.
pie ce has downloaded, it is shared.                           Working w ith agents in Alaba m a,
                                                                                     agr eed to m eet
Gigatribe: Formerly Tribalweb, GigaTribe is a private          la t er that night at Gr ey's home.
n etwork developed by GigaTribe SAS, a company                 Arriving a t h er h ouse a few hours
establish e d under the laws of France. GigaTribe software is  la t er, they     found h er         son
             a private dosed-source, dosed-design program      unconscious; she h a d overdosed
             that runs on Windows and Macs. It is operate d    him on Bena dryl t o make him
             cen trally from www.gigatribe.com where they      more complia nt . Melissa was a
             provide the services for registering, logging in, scho ol     teach er        enrolled  in
             searching and contacting your friends.            gra dua t e school to b ecom e a
GigaTribe might better b e d escribed as a friend-to-friend    trouble d youth counselor.
(F2F) n etw ork because it does differ from public P2P
n etworks like Gnut ella, BitTorrent, et c. In GigaTribe, one
user invite s another user so that they can share files with                        ' . '. ~
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each other.
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Users can search for files, and they can also search for
other users. When users search for files, they are only
searching among their friends (those with whom they have
a connection) and only if they are on the network at the same time. User s a r e a lso able t o browse
their friend's directory structure, just as it is share d from their GigaTrib e client. Since search es are
direct e d to ea ch of the friends, ther e is no public or private centr aliz ed way to search for files.
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According to the company, searching for files, folders and transferring files occurs encrypted using
Blowfish 256.

Users can search for other users by username or they can send an invitation to an email address for
someone to join GigaTribe by email. When searching for a user by username, there is an option to
approximate the search. Checking this option opens the search results to include any username
containing the search string used. There is also a third party application that helps users find other
users.

Gigalist is a separate program that helps people manage their Gigatribe friend's list, trade userlists,
and make 1 click join lists. It is offered via various forums.

Gigalist automatically lists a user's friends and publishes the list in their shared Gigatribe folder so
their users can add each other. It publishes a single .htm file with all of the users and includes a link
to click to automatically request an invite. GigaTribe users can download and continue to expand
their friends by gathering other users' friends. The tool also has the option to leave out one or more
users so that those specific usernames are not shared with others.

Open FastTrack: OpenFT is a file sharing protocol developed by the giFT project. The name
"OpenFT" stands for "Open FastTrack". Despite this, the OpenFT protocol is an entirely new
protocol design: only a few ideas in the OpenFT protocol are drawn from what little was known
about the FastTrack protocol at the time OpenFT was designed.

When one says 'OpenFT', one can mean either one of two different things: the OpenFT protocol, or
the implementation in the form of a plugin for giFT.

OpenFT is a network where nodes submit lists of shared files to other nodes to keep track of which
files are available on the network. This reduces the bandwidth consumed from search requests at
the price of additional memory and processing power on the nodes that store that information. The
transmission of shared lists is not fully recursive: a node will only transmit its list of shared files to
a single search node randomly chosen as that node's "parent", and the list of those files will not be
further transmitted to other nodes.

                                                 The quick demise of Napster was aided by the
                                                 centralized design of the system. Fanning had
                                                 designed Napster with all search operations being
                                                 routed through a central server. Once the court
                                                 ordered the closure of Napster, and the access to the
                                                 servers shut off, the network collapsed. Users had no
                                                 way to communicate or search without that central
                                                 hub. As the court case proceeded, other,
                                                 decentralized networks sprang up; one of the most
                                                 popular was the Gnutella network. A look at both can
                                                 give an idea of the differing network topologies.
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 are hashed and compared to the master QRT. If there is a match, the query is forwarded to all
 connected leaves. The individual leaves then check to verify a match and respond to the ultrapeer
 with the file name and other details. The ultrapeer routes the matching responses back to the peer
 requesting the search.

 Gnutella uses a "query-flooding" based protocol. This means the originating node does not have any
 knowledge of where to look for a given file, so it simply passes its search, or "query", for the file to
 all of the nodes it is connected to. All of those nodes then pass the query to all of the nodes they are
 connected to. This passing of a given query occurs a maximum of six times, or ''hops", before the
 process is considered complete.

 All queries are text-based and are sent by the client to every connected ultrapeer. The search terms
 are hashed and compared to the QRT of the ultrapeer to determine if it, or any other connected
 leaves, are likely to satisfy the query. If so, the queries are forwarded and compared to the actual
 file names of the leaves themselves. When the queries reach the leaves, they are compared to the
 actual file names that exist in the leaves' shared folder. If a match occurs the leaf will respond via its
 ultrapeer to the original requester indicating                                                 0 2002 HowStldM'or'ks
 the match.

 Most users search using file names, but the
 network identifies files by hash value using
 SHA-1 values.

 Downloading is only accomplished by direct
 connections to peers. This is important to note
 as the connection occurs outside the Gnutella
 network, and is one of two functions where
 evidence comes directly from a suspect's
                                                                                             "I've got it!"
 computer. During a f i1e d own1oad , network
 clients can make your undercover computer a
 source for any pieces of the file you receive.
 This is called "partial file sharing" and it should always be turned off in the client application. If
 partial sharing is on, you could be inadvertently sharing contraband as you are downloading.

 Swarming works by getting one file from more than one peer at once. The file is separated into
 several parts, as if you would want to get a book from some friends, and every one of them copied
 only a few pages of it. When you ask every one of them to copy a different part of the book, you'll
 get the complete book, and each of them has very little work to do (and if one doesn't have the time
 to do it, another one can).

 To enhance the file transfer, the network supports downloading pieces or "slices" of a file from
 different sources. In swarming, client software controls which pieces of a file have been received
 and which are still needed. Once all slices have been received, the client software reassembles the
 file and moves it from the incomplete folder into the user's default sharing folder. File swarming
 enhances the speed with which you receive a file, but causes problems for the investigator who
 wants to receive the file's contents exclusively from a suspect's computer
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 Manual Searches

 The following list describes the text box queries on the Home page. This is where you type
 information to query the databases. Click Search to generate a report on your query. All manual
 searches will generate a comment box. The comment should be brief but have some identifying
 information, such as an incident or case number, allowing the investigator to recall the reason for
 the search at a later date. This is for deconfliction purposes, should other investigators share
 interest in the item.

   us.ername(s):                                      Username: Type a single username, or up to 20,
                                                      separated by a comma. Wildcard or partial
   IP Address{es).                                    searches are allowed. Usernames stored in the
                                                      deconfliction system may belong to undercover
                                                      identities, victims, suspects, and witnesses to
                                                      include victim identification, case building, and
   GUID(s)
                                                      other possibilities.

   Service Pro~ders:                                  IP Address: Type an individual IP address or up to
   lnvestigalor:
                                                      20 separated by a comma. Investigators can quickly
                                                      view the history of a specific IP address including
   Physical Aodress.

   Qty.
                                                      other investigator interests in the IP address.
   Stit&!Prov nee·

   Counlty:             Unit~d   State'!i             File Hash( es): Type a hash number to search by or
   Phone:              CoonJryCode:         Number.   up to 2 0 separated by a comma. Hash files using
                                                      the MDS, SHA1 algorithm in both base16 and
   Raw Data.
                                                      base32, and SHA256 to determine what is known
                                                      about a particular file based on its hash values.
                                                      Multiple hashes are separated by a comma.

                                                  GUID(s): Type an individual GUID to search by (or
 multiples separated by a comma). The GUID query will show all instances where a particular GUID
 appears in the system. This can offer a chance to track an individual computer across different IPs.
 GUID histories reveal if other investigators have seen it before and give insight into the interests
 and location of the system associated with that GUID.

 Investigator: Type the name of an investigator to search; names, states or partial text strings will
 be returned: broad or specific.

 Physical Address: You must complete the Physical Address, City, State/Province, and Country
 fields (all four fields) for a complete address query. Type a physical address to search.

 Phone: Country Code/ Number: Type a phone number (or partial). The Phone field can be
 searched by Country Code (are code) or by the full phone number.

 After entering an item and starting the search, a comment box will appear; this will allow the
 investigator to enter a brief reason for the search. If the item has not been seen before, it will be
 logged under the investigator's license. For deconfliction purposes, the investigator should enter a
 distinctive comment allowing him to recall the reason for the search at a latter date.
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 History Reports: Shows each time a history report was generated on this username, as well as the
 investigator running the name. Useful for deconfliction.


 Hash Report
 The top portion of the report summarizes the report type, giving the hash queried, the date range
 that the hash has been seen, the number of IP addresses that have been seen offering it, and the
 number of file names associated with it. The summary area also includes hash value in various
 formats. The detail area information will vary depending on what is available, but may include:

 History Reports: Shows each time a history report was generated on this hash, as well as the
 investigator running it.

 Related IP Addresses: lists each date and time the hash has been seen along with the a ssociated IP
 address.
    File Report - ARBl3GWQMPL2MYUC7TMHLQNZOUN4C61N


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 My Query History
 A Preformatted Report, this query shows an investigator's entire query history, divided by data
 type. This may be useful in recalling a past query that was of interest, but not recorded by the
 investigator.

      My Query History
                                                                                              ! .. l Expana All
      !!J IP Ad dress Activity

      !!l File Report Activity

       00 GUID Report Ac~\lily

       EB Usemame Report AdNlry

       oo   Name Query Activity

      IE Address Query Act1v11y

       fE Phone Query Activity
